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                             UNITED STATES DISTRICT COURT
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                           EASTERN DISTRICT OF CALIFORNIA
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12   U.S. BANK NATIONAL ASSOCIATION,                 Case No. 1:24-cv-01105-KES-SAB
13                        Plaintiff,

14         vs.

15   TOUCHSTONE PISTACHIO COMPANY, LLC;              ORDER GRANTING JOINT EX PARTE
     FARSHID ASSEMI; FARID ASSEMI; DARIUS            APPLICATION OF PLAINTIFF U.S.
16   ASSEMI; NEEMA ASSEMI; MELISSA                   BANK NATIONAL ASSOCIATION AND
     LAYNE; SONIA ROSEMARY ASSEMI;                   RECEIVER DAVID STAPLETON FOR
17   MARICOPA ORCHARDS, LLC; C&A FARMS,              FURTHER ORDER REGARDING
     LLC; ACDF, LLC; CANTUA ORCHARDS,                RECEIVER’S AUTHORITY TO ENGAGE
18   LLC; LINCOLN GRANTOR FARMS, LLC;                AND COMPENSATE RECEIVER’S
     PANOCHE PISTACHIOS, LLC; ADAMS                  COUNSEL
19   GRANTOR LAND, LLC; GRANVILLE
     FARMS, LLC; SAGEBERRY FARMS, LLC;
20   GRADON FARMS, LLC; MANNING AVENUE
     PISTACHIOS, LLC; ASSEMI AND SONS,
21   INC.; WINSTON FARMS, LLC; FFGT FARMS,           Action Filed: September 17, 2024
     LLC; FAVIER RANCH, LLC; GRANTLAND
22   FARMS, LLC; WHITESBRIDGE FARMS, LLC;
     ACAP FARMS, LLC; BEAR FLAG FARMS,
23   LLC; COPPER AVENUE INVESTMENTS,
     LLC; WILLOW AVENUE INVESTMENTS,
24   LLC; ASHLAN & HAYES INVESTMENTS,
     LLC; ASSEMI BROTHERS, LLC,
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                          Defendants.
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     ORDER GRANTING JOINT EX PARTE APPLICATION OF PLAINTIFF U.S. BANK NATIONAL
     ASSOCIATION AND RECEIVER DAVID STAPLETON FOR FURTHER ORDER REGARDING RECEIVER’S
     AUTHORITY TO ENGAGE AND COMPENSATE RECEIVER’S COUNSEL
     Case No.: 1:24-1105-KES-SAB
     Case 1:24-cv-01105-KES-SAB             Document 53       Filed 11/18/24      Page 2 of 3

 1            Upon due consideration of the Joint Ex Parte Application of Plaintiff U.S. Bank National

 2   Association and Receiver David Stapleton for Further Order Regarding Receiver’s Authority to

 3   Engage and Compensate Receiver’s Counsel (the “Application”)1 and the affidavits of David

 4   Stapleton and Joseph Dunn in support thereof, the Court hereby finds that:

 5            A.     On September 28, 2024, the Court entered an Order Appointing Receiver in the

 6   above-captioned matter at Doc. 32 (the “Receivership Order”).

 7            B.     Paragraph 33 of the Receivership Order, as entered, authorized the Receiver to

 8   employ and compensate Receiver’s Counsel at a maximum hourly rate, subject to the conditions

 9   of other provisions of the Receivership Order.

10            C.     Good cause exists to enter a further order that authorizes the Receiver to engage

11   and compensate his preferred counsel at an increased hourly rate cap in accordance with the

12   procedures set forth in the Receivership Order, notwithstanding the provisions of Local Rule

13   232(g) and Paragraph 33 of the Receivership Order.

14            Having found the foregoing,

15            IT IS ORDERED:

16            1.     Notwithstanding anything to the contrary in Paragraph 33 of the Receivership

17   Order:

18                       a. The Receiver may employ a law firm as Receiver’s legal counsel

19                          (“Receiver’s Counsel”) in this matter, as reasonably necessary to

20                          accomplish the purposes of this Order. Compensation to Receiver’s

21                          Counsel shall be based on an hourly rate not to exceed $975.00 per hour,

22                          subject to annual adjustment upon notice to the parties.

23                       b. Receiver’s Counsel shall be entitled to reimbursement of all reasonable

24                          costs and expenses incurred on behalf of the Receivership estate. The

25                          attorneys’ fees and costs incurred by Receiver’s Counsel may be included

26                          in the administrative costs and expenses to be paid to the Receiver and his

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      Capitalized terms used but not defined herein have the meanings ascribed to them in the
28   Application.
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     ORDER GRANTING JOINT EX PARTE APPLICATION OF PLAINTIFF U.S. BANK NATIONAL
     ASSOCIATION AND RECEIVER DAVID STAPLETON FOR FURTHER ORDER REGARDING RECEIVER’S
     AUTHORITY TO ENGAGE AND COMPENSATE RECEIVER’S COUNSEL
     Case No.: 1:24-1105-KES-SAB
     Case 1:24-cv-01105-KES-SAB          Document 53        Filed 11/18/24     Page 3 of 3

 1                        professionals in accordance with paragraph 32 of the Receivership Order,

 2                        notwithstanding the provisions of Local Rule 232(g).

 3                     c. The Receivership Order constitutes authorization of employment of

 4                        Receiver’s Counsel, within the meaning of Local Rule 232(g), and no

 5                        further application or motion for such employment need be made by the

 6                        Receiver.

 7          2.     All other terms and conditions of the Receivership Order shall remain in full force

 8   and effect.

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11   IT IS SO ORDERED.

12      Dated:     November 17, 2024
                                                         UNITED STATES DISTRICT JUDGE
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     ORDER GRANTING JOINT EX PARTE APPLICATION OF PLAINTIFF U.S. BANK NATIONAL
     ASSOCIATION AND RECEIVER DAVID STAPLETON FOR FURTHER ORDER REGARDING RECEIVER’S
     AUTHORITY TO ENGAGE AND COMPENSATE RECEIVER’S COUNSEL
     Case No.: 1:24-1105-KES-SAB
